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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )              CASE NO. 8:08CR323
                                            )
              Plaintiff,                    )
                                            )
              vs.                           )              TENTATIVE FINDINGS
                                            )
LINDA HERNANDEZ,                            )
                                            )
              Defendant.                    )

      The Court has received the Presentence Investigation Report (“PSR”) and the

Defendant’s objections thereto (Filing No. 62).     The Court has also reviewed the

Defendant’s motion for a downward departure, deviation, or variance and the supporting

brief (Filing Nos. 63, 67). See Order on Sentencing Schedule, ¶ 6. The Court advises the

parties that these Tentative Findings are issued with the understanding that, pursuant to

United States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

      The Defendant objects to the absence of a minor role adjustment in ¶ 22. The

objection will be heard at sentencing, and the Defendant has the burden by a

preponderance of the evidence.

      The Defendant’s motion for downward departure, etc., will also be heard at

sentencing.

      If the parties need more than 30 minutes for the entire sentencing hearing, they

should immediately contact Edward Champion and reschedule the hearing.

      IT IS ORDERED:

      1.      The Defendant’s Objections to the Presentence Investigation Report (Filing

No. 62) will be heard at sentencing;
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       2.     Otherwise the Court’s tentative findings are that the Presentence Investigation

Report is correct in all respects;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final;

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing; and

       6.     The Defendant’s motion for downward departure, etc. (Filing No. 63) will be

heard at sentencing.

       DATED this 3rd day of February, 2009.

                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          United States District Judge




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